Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 1 of 10 PagelD 1

 

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UNITED STATES DISTRICT COURT | a ae G9
MIDDLE DISTRICT OF FLORIDA [PR ~2. Pv? eS
ORLANDO DIVISION
GARY JOHNSON,
Plaintiff, 43 gel-22 OCL
Vv. a ae “\f_ al
CASE NO.: & « |jg-<" d
COLLECTO, INC., d/b/a EOS CCA,
Defendant.
/
COMPLAINT

I. Unwanted “Robocalls” are the #1 consumer complaint in America today.

2. The people complaining about harassing robocalls is increasing at an alarming rate.
In 2014, 1,949,603 complained to the Federal Trade Commission (FTC) and Federal
Communications Commission (FCC), in 2015 this number was 2,636,477 and in 2016 it was
3,857,627. In 2017, between January and August the FTC alone has received more than 3,500,000
robocall complaints.

3. COLLECTO INC., d/b/a EOS CCA (EOS CCA), robocalled the Plaintiff 60 times.

4, EOS CCA has a corporate policy to robocall people thousands of times.

5, “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force
the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

 

' It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 2 of 10 PagelD 2

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014), Despite the penalties put in place over 26
years ago, robocall abuse continues to skyrocket.

6. Plaintiff, Gary Johnson, alleges Defendant, EOS CCA, robocalled him more than
60 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seg.
(“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seg. (“FDCPA”), the
Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (““FCCPA”).

7. Robocalls are very inexpensive to make. As was noted in a Senate hearing on the
subject: “With such a cheap and scalable business model, bad actors can blast literally tens of
millions of illegal robocalls over the course of a single day at less than | cent per minute.”
Stopping Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on
Consumer Prot., Prod. Safety, and Ins. of the $. Comm. on Commerce, Sci., and Transp., 113
Cong. 113-117 (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing
Practices, Bureau of Consumer Protection, Federal Trade Commission).

8. The TCPA was enacted to prevent companies like EOS CCA from invading
American citizens’ privacy and prevent illegal robocalls.

9. Congress enacted the TCPA to prevent real harm. Congress found that "automated
or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and
decided that "banning" such calls made without consent was "the only effective means of
protecting telephone consumers from this nuisance and privacy invasion.” Pub. L. No. 102-243,
§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy’).
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 3 of 10 PagelD 3

10. According to findings by the FCC—the agency Congress vested with authority to
issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that
wireless customers are charged for incoming calls whether they pay in advance or after the minutes
are used.

JURISDICTION AND VENUE

11. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.

12. Violations described in the Complaint occurred while Plaintiff was in Palm Bay,
Florida.

FACTUAL ALLEGATIONS

13. Plaintiff is a natural person and citizen of the State of Florida, residing in Palm Bay,
Florida.

14. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §
1692(a)(3).

15. Plaintiff is an “alleged debtor.”

16. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

17. Defendant is a debt collection agency with it’s principal place of business in
Norwell, Massachusetts and conducts business in the State of Florida.

18. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).
Case 6:18-cv-00498-ACC-DCI Document 1 Filed 04/02/18 Page 4 of 10 PagelD 4

19. The debt that is the subject matter of this complaint is a “consumer debt” as defined
by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

20. Plaintiff is the regular user and carrier of the cellular telephone number at issue,
321-215-5030.

21. Plaintiff was the “called party” during each phone call subject to this lawsuit.

22. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23. Defendant did not have the “express consent” of the Defendant to call his cell
phone.

24. “Express consent” is narrowly construed by the Courts.

25. ‘It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

26. _—‘It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on his cell phone using an ATDS for each account they were calling on.

27. Defendant was put on notice Plaintiff did not want the Defendant contacting him.

28. Defendant was told repeatedly that Plaintiff did not want further calls.

29. Defendant did not have the express consent of the Plaintiff to call him.

30. Plaintiff expressly revoked any express consent Defendant may have mistakenly
believed it had for placement of telephone calls to Plaintiff's aforementioned cellular telephone
number by the use of an ATDS or a pre-recorded or artificial voice.

31. Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 5 of 10 PagelD 5

32. Defendant made at least one call to 321-215-5030.

33. Defendant made at least one call to 321-215-5030 using an ATDS.

34. Defendant made at least sixty (60) calls to 321-215-5030.

35. Defendant made at least sixty (60) calls to 321-215-5030 using an ATDS.

36. | Each call the Defendant made to 321-215-5030 in the last four years was made
using an ATDS.

37. Each call the Defendant made to the Plaintiff's cell phone was done so without the
“express permission” of the Plaintiff.

38. Defendant has called other people’s cell phones without their express consent.

39. Each call the Defendant made to the Plaintiff was made using an ATDS, which has
the capacity to store or produce telephone numbers to be called, without human intervention, using
a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §
227(a)(1).

40. The calls at issue were placed by the Defendant using a “prerecorded voice,” as
specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

41. Plaintiff repeatedly requested the Defendant to stop calling his cell phone,
however, the Defendant continued to make calls.

42. Defendant has admitted to calling cell phones using an ATDS after that person
asked for the calls to stop.

43. Plaintiff's conversations with the Defendant putting them on notice that they did
not want more phone calls were ignored.

44. Defendant has recorded at least one conversation with the Plaintiff.

45, Defendant has recorded numerous conversations with the Plaintiff.
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 6 of 10 PagelD 6

46. Defendant has made approximately sixty (60) calls to Plaintiff's aforementioned
cellular telephone number since in or about July 2016, which will be established exactly once
Defendant turns over their dialer records.

47. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of abusive robocalls.

48. Defendant has been sued in federal court where the allegations include: calling an
individual using an ATDS after the individual asked for the calls to stop.

49. By effectuating these unlawful phone calls, Defendants have caused Plaintiff the
very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

50. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff's rights and interests in his cellular telephone and cellular telephone line, by
intruding upon Plaintiff's seclusion.

51. Defendant’s phone calls harmed Plaintiff by wasting his time.

52. Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA
of 1991, 23 FCC Red 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on his cellular telephone, and by using minutes allocated to Plaintiff by his cellular
telephone service provider.

53.  Defendant’s corporate policy and procedures are structured as to continue to call
individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may
have mistakenly believed it had.

54. Defendant’s corporate policy and procedures provided no means for the Plaintiff to

have her aforementioned cellular number removed from the call list.
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 7 of 10 PagelD 7

55. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial
voice message to collect debts from individuals such as Plaintiff for its financial benefit.

56. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this complaint. The Defendant has been sued civilly in Federal
Court 239 times since 2014 (Per PACER in March 2018).

57. Since March 2014, Defendant has had 124 complaints classified under
“communications tactics” filed against it with the Consumer Financial Protection Bureau (per
consumerfinance.gov in February 2018)

58. Plaintiff expressly revoked any consent Defendant may have mistakenly
believed it had for placement of telephone calls to Plaintiffs aforementioned cellular telephone by
the use of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement
of the calls. Making money while breaking the law is considered an incentive to continue violating
the TCPA and other state and federal statutes.

59. | Defendant never had the Plaintiff's expressed consent for placement of telephone
calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial
voice.

60. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(1)(A).

61. Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

62. Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 8 of 10 PagelD 8

COUNT I
(Violation of the TCPA)

63. Plaintiff incorporates Paragraphs one (1) through sixty-two (62).

64. Defendant willfully violated the TCPA with respect to the Plaintiff each time they
called the Plaintiff after he revoked his consent to be called by them using an ATDS or pre-
recorded voice.

65. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for
each of the auto-dialed calls made to Plaintiffs cellular telephone after Plaintiff revoked his
consent to be called by them using an ATDS or pre-recorded voice.

66. Defendant, EOS CCA repeatedly placed non-emergency telephone calls to the
wireless telephone number of Plaintiff using an automatic telephone dialing system or prerecorded
or artificial voice without Plaintiff's prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(AD(iii).

67. Asa result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,
under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such
violation of the TCPA.

68. Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,
EOS CCA from violating the TCPA in the future.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 9 of 10 PagelD 9

COUNT I
(Violation of the FDCPA)

69. Plaintiff incorporates Paragraphs one (1) through sixty-two (62).

70. — Atall times relevant to this action, Defendant is subject to and must abide by 15
U.S.C. § 1692 ef seg.

71. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by
willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.

72, Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)
by causing a telephone to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the called number.

73. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by
using unfair and unconscionable means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney
fees and any other such relief the court may deem just and proper.

COUNT Ill
(Violation of the FCCPA)

74, Plaintiff incorporates Paragraphs one (1) through sixty-two (62).

75.  Atall times relevant to this action Defendant is subject to and must abide by the
law of Florida, including Florida Statute § 559.72.

76. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his family with such frequency as can reasonably be expected

to harass the debtor or his family.
Case 6:18-cv-00498-ACC-DCI Document1 Filed 04/02/18 Page 10 of 10 PagelD 10

77. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency even after Plaintiff explained to
defendant that he did not want further calls. This frequency can reasonably be expected to harass
the debtor or his family.

78. | Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt
when Defendant knows that the debt is not legitimate or assert the existence of some legal right
when Defendant knows that right does not exist.

79.  Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may
deem just and proper.

Respectfully submitted,

fs/ Heather H. Jones

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10
